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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    HONEYWELL INTERNATIONAL INC.,                   Case No. 1:21-mc-00151-CKK
    855 South Mint Street
    Charlotte, NC 28202,
                                                    Original Proceeding:
                                Movant,             Honeywell International Inc. v. North
                                                    American Refractories Company Asbestos
    v.                                              Personal Injury Settlement Trust, Adv. Proc.
                                                    No. 21-2097 (Bankr. W.D. Pa.)
    THE LAW OFFICES OF PETER T.
    NICHOLL,
    36 South Charles St., #1700
    Baltimore, MD 21201

                                Respondent.



                         RESPONSE TO ORDER TO SHOW CAUSE

         Respondent The Law Offices of Peter T. Nicholl, by undersigned counsel, responds as

follows to this Court’s Order to Show Cause, entered by Minute Order on December 21, 2021:

         Honeywell International, Inc. (“Honeywell”) filed its combined Motion to Compel,

Transfer and Expedite Proceedings (Dkt. 1) on December 6, 2021.1 After filing the motions,

counsel for Honeywell forwarded the filed motion and supporting papers to undersigned counsel

for Respondent, by e-mail, and requested that counsel confirm acceptance of service by e-mail.

See Proof of Service (Dkt. 8), Exhibit A. The parties did not have any prior agreement to service

by e-mail.




1
 Despite its request to expedite this proceeding, Honeywell did not pay the filing fee to initiate the
miscellaneous case until December 10, 2021, three days after the Clerk notified Honeywell that
the filing fee was missing. See Dkt. entries dated Dec. 7, 2021 and Dec. 10, 2021. It is not clear
whether this delay should impact Respondent’s deadline for opposing the motions, but Respondent
does not seek any extension on this ground.
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       The following day, undersigned counsel responded and agreed to accept service by e-mail.

Id. Counsel for Honeywell did not request, and Respondent did not agree, to alter the response

deadline otherwise applicable under the Rules. See generally, id.

       Rule 5 of the Federal Rules of Civil Procedure does not provide for service by e-mail, but

it allows for service “by any other means that the person consented to in writing.” Fed. R. Civ. P.

5(b)(2)(F). Pursuant to Rule 6(d), when service is made pursuant to e-mail by written agreement,

three days are added to the response deadline. Fed. R. Civ. P. 6(d) (“When a party may or must act

within a specified time after being served and service is made under Rule 5(b)(2)(C) (mail), (D)

(leaving with the clerk), or (F) (other means consented to), 3 days after added after the period

would otherwise expire under Rule 6(a).”).

       Accordingly, under the Rules, Respondent’s opposition to Honeywell’s motions is due on

December 23, 2021. Respondent intends to file its opposition to the motions, timely, on that date.



Dated: December 21, 2021                                    Respectfully Submitted,

                                                            ZUCKERMAN SPAEDER LLP

                                                            By:     /s/ Caroline E. Reynolds
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